EDTN Judgment in a Criminal Case for Revocation (Rev. 8/01)
     Sheet 1



                                          United States District Court
                                                Eastern District of Tennessee

           UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            LARRY JAMES SEYMORE
                         (Defendant’s Name)
                                                                          Criminal Number: 3:10-CR-149-1


                                                                          Bruce E. Poston
                                                                          Defendant’s Attorney

THE DEFENDANT:
[T]       admitted guilt to violation of Violations 1-4 of the term of supervision.
[]        was found in violation of condition(s)      after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations;

                                                                                                 Date Violation
Violation Number                        Nature of Violation                                      Occurred

See next page.




        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[T]       The government moved to dismiss Violation 5 .


          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                                                        January 8, 2014
                                                                        Date of Imposition of Sentence

                                                                                                         s/ Leon Jordan
                                                                        Signature of Judicial Officer

                                                                                      LEON JORDAN, United States District Judge
                                                                        Name & Title of Judicial Officer

                                                                                                         January 8, 2014
                                                                        Date




       Case 3:10-cr-00149-PLR-HBG                         Document 776         Filed 01/08/14               Page 1 of 5    PageID
                                                                #: 2228
EDTN Judgment in a Criminal Case for Revocation (Rev. 8/01)
     Sheet I
                                                                                                                  Judgment - Page 2 of 5
CASE NUMBER:             3:10-CR-149-1
DEFENDANT:               LARRY JAMES SEYMORE

                                                  ADDITIONAL VIOLATIONS

Violation Number         Nature of Violation                                                        Date Violation Occurred

1                        General Condition: The defendant tested positive for use of a controlled   October 17, 2013
                         substance.

2                        General Condition: The defendant failed to pay restitution that remained   November 18, 2013
                         unpaid at the commencement of the term of supervised release in
                         accordance with the Schedule of Payments set forth in the Criminal
                         Monetary Penalties sheet of the judgment.

3                        Modified Special Condition: The defendant failed to reside at Midway       November 14, 2013
                         Rehabilitation Center in Knoxville, Tennessee, as a special condition
                         of supervision for a period of up to 180 days.

4                        Standard Condition No. 3: The defendant failed to answer truthfully all    November 14, 2013
                         inquires by the probation officer and follow the instructions of the
                         probation officer.

5                        Standard Condition No. 5: The defendant failed to secure employment        November 18, 2013
                         since released from custody.




       Case 3:10-cr-00149-PLR-HBG                         Document 776       Filed 01/08/14         Page 2 of 5        PageID
                                                                #: 2229
EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 2 — Imprisonment
                                                                                                                   Judgment - Page 3 of 5
DEFENDANT:              LARRY JAMES SEYMORE
CASE NUMBER:            3:10-CR-149-1


                                                          IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
8 months .




[]     The court makes the following recommendations to the Bureau of Prisons:



[T]    The defendant is remanded to the custody of the United States Marshal.


[]     The defendant shall surrender to the United States Marshal for this district:
       [ ] at      [] a.m. [] p.m. on       .
       [ ] as notified by the United States Marshal.


[]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       [ ] before 2 p.m. on     .
       [ ] as notified by the United States Marshal.
       [ ] as notified by the Probation or Pretrial Services Office.




                                                                 RETURN
I have executed this judgment as follows:




       Defendant delivered on                                       to

at                                             , with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL



                                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL




       Case 3:10-cr-00149-PLR-HBG                        Document 776            Filed 01/08/14     Page 3 of 5         PageID
                                                               #: 2230
EDTN Judgment in a Criminal Case (Rev. 1/12)
     Sheet 3 — Supervised Release
                                                                                                                       Judgment - Page 4 of 5
DEFENDANT:              LARRY JAMES SEYMORE
CASE NUMBER:            3:10-CR-149-1

                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 4 years .


The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

[]     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)

[]     The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is
       a student, as directed by the probation officer. (Check, if applicable.)

[]     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such
fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the additional conditions on the attached page.


                                     STANDARD CONDITIONS OF SUPERVISION
 1)    The defendant shall not leave the judicial district or other specified geographic area without the permission of the Court or
       probation officer;
 2)    The defendant shall report to the probation officer in a manner and frequency directed by the Court or probation office;
 3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    The defendant shall support his/her dependents and meet other family responsibilities;
 5)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
       other acceptable reasons;
 6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       narcotic or other controlled substance, or any paraphernalia related to such substances, except as prescribed by a physician;
 8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered, or
       other places specified by the Court;
 9)    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
       convicted of a felony unless granted permission to do so by the probation officer;;
10)    The defendant shall permit a probation officer to visit at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view by the probation officer;
11)    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
12)    The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
       the permission of the Court;
13)    As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by his/her criminal
       record or personal history of characteristics and shall permit the probation officer to make such notification and to confirm the
       Case 3:10-cr-00149-PLR-HBG
       defendant’s  compliance with such notificationDocument
                                                       requirement. 776        Filed 01/08/14 Page 4 of 5 PageID
                                                                #: 2231
EDTN Judgment in a Criminal Case (Rev.3/04)
    Sheet 3A - Supervised Release
                                                                                                                 Judgment - Page 5 of 5
DEFENDANT:               LARRY JAMES SEYMORE
CASE NUMBER:             3:10-CR-149-1


                                    SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall reside at Midway Rehabilitation Center in Knoxville, Tennessee, for up to 180 days upon release.

2. The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the commencement of the
   term of supervised release.

3. The defendant shall provide the probation officer with access to any requested financial information.

4. The defendant shall not incur new credit charges on existing accounts or apply for additional lines of credit without permission of
   the probation officer until the restitution has been paid in full. In addition, the defendant shall not enter into any contractual
   agreements which obligate funds without the permission of the probation officer.

5. The defendant shall participate in a program of testing and/or treatment for drug and/or alcohol abuse, as directed by the probation
   officer, until such time as he is released from the program by the probation officer.




       Case 3:10-cr-00149-PLR-HBG                   Document 776            Filed 01/08/14          Page 5 of 5         PageID
                                                          #: 2232
